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EXHIBIT G
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ATTORNEYS AT LAW

MarK IRELAND
(612) 349-8480

March 16, 2005
Via F acsimile and United States Mail

Michael J. Beck
Clerk of the Panel
_ One Columbus Circle, NE
Thurgood Marshall Federal Judicial Building
Room G-255, North Lobby
Washington, D.C. 20002

Re: MDL-1629 -- In re Neurontin Marketing and Sales Practices Litigation
Assurant Health, Inc., et al. v. Pfizer, Inc. et al., Civ. No. 2:05-cv-00095 (D.N.J.)
Our File No. 092379.0000

Dear Sir:

I am counsel with Robins, Kaplan, Miller & Ciresi L.L.P. for Plaintiffs in the above-
captioned matter.

As you know, the Judicial Panel on Multidistrict Litigation issued a Conditional Transfer
Order (CTO-3) on February 8, 2005. The order provided that this action would be transferred to
MDL 1629-in re Neurontin Marketing and Sales Practices Litigation absent a motion to vacate.
_ Although Plaintiffs initially opposed this transfer, Plaintiffs have withdrawn their opposition.
Very truly yours,

ROBINS, KAPL TRESI L.L.P.

Mark Ireland
_ MiAjr

c: Panel Attorney Service List

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